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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                A Goodnight Sleepstore, Inc.

2.   All other names debtor
     used in the last 8 years     FDBA G.N.S. Enterprises, LLC
     Include any assumed          FDBA G.N.S. Enterprises/Fayetteville, LLC
     names, trade names and       FDBA G.N.S. Enterprises/Columbia, LLC
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6502 Market Street
                                  Wilmington, NC 28405
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Hanover                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.agoodnightsleepstore.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    A Goodnight Sleepstore, Inc.                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4422

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   A Goodnight Sleepstore, Inc.                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    A Goodnight Sleepstore, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 4, 2017
                                                  MM / DD / YYYY


                             X   /s/ Sonny D. Langley                                                     Sonny D. Langley
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Richard P. Cook                                                       Date July 4, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard P. Cook
                                 Printed name

                                 Richard P. Cook. PLLC
                                 Firm name

                                 dba Cape Fear Debt Relief
                                 7036 Wrightsville Avenue, Suite 101
                                 Wilmington, NC 28403
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (910)399-3458                 Email address      CapeFearDebtRelief@gmail.com

                                 37614
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 4, 2017                            X /s/ Sonny D. Langley
                                                                       Signature of individual signing on behalf of debtor

                                                                       Sonny D. Langley
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,574,770.57
       From 1/01/2017 to Filing Date                                                                        Retail Mattress Sales
                                                                                                            (through June 30,
                                                                                                   Other    2017)


       For prior year:                                                                             Operating a business                             $3,798,638.26
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    Retail Mattress Sales


       For year before that:                                                                       Operating a business                             $5,018,486.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    Retail Mattress Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       A Goodnight Sleepstore, Inc.                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Funding Metrics, LLC                                        Weekday                         $253,176.76           Purported sale of future
               dba Quick Fix Capital                                       drafts from                                           receivables agreement
               Attn: Managing Officer/Agent                                debtor's
               PO Box 519                                                  bank
               Langhorne, PA 19047                                         account
               Insider                                                     since August
                                                                           16, 2016

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       South Carolina Dept. of Revenue                           South Carolina Department of Revenue                          June 2017                    $7,200.00
       Attn: Managing Officer/Agent                              levied $7,200.00 from the Debtor's First
       300A Outlet Pointe Boulevard                              Citizens bank account.
       Columbia, SC 29210                                        Last 4 digits of account number: 3387


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Chela Scott v. Camden Kyle                        Personal Injury            Cumberland County                            Pending
               Thompson and A Goodnight                                                     Superior Court                               On appeal
               Sleepstore, Inc.
                                                                                                                                         Concluded
               17 CVS 1792

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions


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 Debtor        A Goodnight Sleepstore, Inc.                                                                 Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Richard P. Cook, PLLC
                 dba Cape Fear Debt Relief
                 7036 Wrightsville Avenue,
                 Suite 101                                                                                                     April 27,
                 Wilmington, NC 28403                                $4,000.00 - Chapter 11 Attorney Fees                      2017                    $4,000.00

                 Email or website address
                 Richard@CapeFearDebtRelief.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers         Total amount or
                                                                                                                         were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer        Total amount or
                Address                                          payments received or debts paid in exchange                was made                      value

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 Debtor       A Goodnight Sleepstore, Inc.                                                              Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Funding Metrics, LLC
       .    dba Quick Fix Capital
               Attn: Managing Officer/Agent
               PO Box 519                                                                                                August 2016,
               Langhorne, PA 19047                               Purported sale of future receivables                    December 2016                  Unknown

               Relationship to debtor
               Insider


       13.2                                                      Debtor transferred an inoperable 2004
       .                                                         Isuzu box truck to a former employee in
                                                                 consideration for taking title to the
               Former employee                                   vehicle, taking over the insurance and tax
                                                                 expenses, and repairing the vehicle.                    May 2017                             $0.00

               Relationship to debtor
               None


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,

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 Debtor      A Goodnight Sleepstore, Inc.                                                               Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Mattress vendors                                              Various stores                       Debtor has possession of                         $0.00
                                                                                                          displays of its various
                                                                                                          mattress vendors throughout
                                                                                                          its four stores.


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.




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 Debtor      A Goodnight Sleepstore, Inc.                                                               Case number (if known)



       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       RSM US LLP
                    300 N Third Street
                    Suite 500
                    Wilmington, NC 28401

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      A Goodnight Sleepstore, Inc.                                                               Case number (if known)




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sonny D. Langley                               210 Tanbridge Road                                  President and Sole Director           100
                                                      Wilmington, NC 28405



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       David P. Heidenreich                                                                               Former President and              2003 - 2015
       (deceased)                                                                                         50% Owner


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Sonny D. Langley                                                                                             Over the past
       .    210 Tanbridge Road                                                                                           twelve             Owner draws for
               Wilmington, NC 28405                              approximately $30,000.00                                months             living expenses

               Relationship to debtor
               President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      A Goodnight Sleepstore, Inc.                                                               Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 4, 2017

 /s/ Sonny D. Langley                                                   Sonny D. Langley
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
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        Case 17-03274-5-JNC                                       Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                                                   Page 15 of 45
 Fill in this information to identify the case:

 Debtor name            A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           268,696.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           268,696.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           287,827.28


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           355,297.54

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           362,934.66


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,006,059.48




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:
 Debtor name A Goodnight Sleepstore, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Capital One Bank                                                Credit card                                                                                              $10,307.85
 Attn: Managing                                                  purchases
 Officer/Agent
 PO Box 30285
 Salt Lake City, UT
 84130
 Capital One Bank                                                Credit card                                                                                                $1,616.30
 Attn: Managing                                                  purchases
 Officer/Agent
 PO Box 30285
 Salt Lake City, UT
 84130
 Corsicana Bedding,                                              Inventory                                                                                                $30,691.97
 Inc.                                                            purchases
 Attn: Managing
 Officer/Agent
 PO Box 1050
 Corsicana, TX 75151
 Cross Creek Land                                                Lease breach           Disputed                                                                          $19,224.90
 Company, LLC
 Attn: Managing
 Officer/Agent
 5019 Carolina Beach
 Road
 Wilmington, NC
 28412
 Discover Financial                                              Credit card                                                                                              $14,076.00
 Services - Sam's                                                purchases
 Attn: Managing
 Officer/Agent
 PO Box 30943
 Salt Lake City, UT
 84130-0943




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    A Goodnight Sleepstore, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Funding Metrics,                                                Mattress invetory      Disputed                     $44,041.68               $208,144.00                 $44,041.68
 LLC dba Quick Fix
 Attn: Managing                                                  Value of inventory
 Officer/Agent                                                   located at 6502
 884 Town Center                                                 Market Street,
 Drive                                                           Wilmington, NC -
 Langhorne, PA                                                   $72,721.00
 19047                                                           Value of inventory
                                                                 located at 801 S.
                                                                 College Road
 Internal Revenue                                                940/941                                                                                                $250,000.00
 Service                                                         Withholding taxes
 Centralized
 Insolvency
 Operations
 PO Box 7346
 Philadelphia, PA
 19101
 Leggett & Platt,                                                Inventory                                                                                                  $7,482.30
 Incorporated                                                    purchases
 Attn: Managing
 Officer/Agent
 PO Box 140
 Linwood, NC 27299
 North Carolina Dept.                                            Sales and                                                                                                $45,000.00
 of Revenue                                                      withholding taxes
 Attn: Bankruptcy
 Unit
 PO Box 1168
 Raleigh, NC 27602
 Piedmont Natural                                                Utility service                                                                                              $399.85
 Gas
 Attn: Managing
 Officer/Agent
 PO Box 33068
 Charlotte, NC 28233
 Plan A Advertising,                                             Advertising                                                                                                  $780.00
 LLC                                                             services
 Attn: Managing
 Officer/Agent
 3724 Shipyard Blvd,
 Suite C
 Wilmington, NC
 28403
 Sealy, Inc.                                                     Inventory                                                                                              $126,905.62
 Attn: Managing                                                  purchases
 Officer/Agent
 239 Sealy Drive
 Trinity, NC 27370




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    A Goodnight Sleepstore, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sears Credit Cards                                              Business credit                                                                                          $14,000.00
 Attn: Managing                                                  card purchases
 Officer/Agent
 PO Box 6282
 Sioux Falls, SD
 57117
 Serta Simmons                                                   Inventory                                                                                                $54,022.00
 Bedding, LLC                                                    purchases
 Attn: Managing
 Officer/Agent
 6540 Judge Adams
 Rd
 Whitsett, NC 27377
 Simmons                                                         Mattress invetory                                  $243,785.60               $208,144.00                 $35,641.60
 Manufacturing Co.,
 LLC                                                             Value of inventory
 Attn: Managing                                                  located at 6502
 Officer/Agent                                                   Market Street,
 One Concourse                                                   Wilmington, NC -
 Parkway, Suite 800                                              $72,721.00
 Atlanta, GA 30328                                               Value of inventory
                                                                 located at 801 S.
                                                                 College Road
 Sonny D. Langley                                                Loans to business                                                                                        $37,482.54
 210 Tanbridge Road
 Wilmington, NC
 28405
 South Carolina                                                  Sales and              Disputed                                                                          $60,000.00
 Dept. of Revenue                                                withholding taxes
 Attn: Managing
 Officer/Agent
 300A Outlet Pointe
 Boulevard
 Columbia, SC 29210
 Tempur-Pedic North                                              Inventory                                                                                                  $7,630.00
 America, LLC                                                    purchases
 Attn: Managing
 Officer/Agent
 PO Box 202707
 Dallas, TX 75320
 Time Warner Cable                                               Utility service                                                                                            $1,035.52
 Attn: Managing
 Officer/Agent
 PO Box 70872
 Charlotte, NC 28272
 Wells Fargo Bank                                                Business line of                                                                                         $35,736.73
 Attn: Managing                                                  credit
 Officer/Agent
 PO Box 14517
 Des Moines, IA
 50306



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First Citizens Bank                                     Checking                        3387                                    $19,552.50


                    Wells Fargo Bank, N.A.

           3.2.     Account balance is negative                             Checking                        3025                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $19,552.50
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         A Goodnight Sleepstore, Inc.                                                     Case number (If known)
                Name

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Mattress invetory

           Value of inventory
           located at 6502 Market
           Street, Wilmington, NC -
           $72,721.00
           Value of inventory
           located at 801 S. College
           Road, Wilmington, NC -
           $36,782.00
           Value of inventory
           located at 934 Robeson
           Street, Fayetteville, NC -
           $51,604.00
           Value of inventory
           located at 1732 Skibo
           Road, Fayetteville, NC -
           $47,037.00                                 June 2017                                $0.00    Recent cost                        $208,144.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                            $208,144.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         A Goodnight Sleepstore, Inc.                                                  Case number (If known)
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, chairs                                                                    $0.00    Liquidation                             $500.00



 40.       Office fixtures
           Signage                                                                          $0.00    Liquidation                           $1,000.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, copiers, cash register                                                $0.00    Liquidation                           $1,500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $3,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2004 Pace Trailer

                     VIN: 4FPFB12164G083652                                                 $0.00    Liquidation                             $500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         A Goodnight Sleepstore, Inc.                                                 Case number (If known)
                Name

           47.2.     2012 Toyota Prius

                     VIN: JTDKN3DUXC1542181                                                 $0.00    NADA                        $8,500.00


           47.3.     2006 Isuzu Box Truck

                     VIN: JALB4B16067010795                                                 $0.00    Liquidation                 $5,000.00


           47.4.     2006 Isuzu Box Truck

                     Last four of VIN: 3331

                     Vehicle is currently in the repair shop                                $0.00    Liquidation                 $2,500.00


           47.5.     2006 Isuzu Box Truck

                     Last four of VIN: 2644                                                 $0.00    Liquidation                 $5,000.00


           47.6.     2006 Isuzu Box Truck

                     Last four of VIN: 1902

                     Vehicle is inoperable                                                  $0.00    Liquidation                   $500.00


           47.7.     2006 Ford F-150

                     Last four of VIN: 1842                                                 $0.00    NADA                        $5,000.00


           47.8.     2004 Ford F-150

                     Last four of VIN: 3463                                                 $0.00    NADA                        $3,500.00


           47.9.     2007 Sterling truck

                     Last four of VIN: 2236                                                 $0.00    Liquidation                 $7,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                 $38,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 4
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 Debtor         A Goodnight Sleepstore, Inc.                                                  Case number (If known)
                Name


               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            AGoodnightSleepStore.com                                                        $0.00                                                $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         A Goodnight Sleepstore, Inc.                                                 Case number (If known)
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           Business Auto, Property and Worker's Compensation
           Policies with Nationwide P&C Insurance, Co.                                                                                 $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                        $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 6
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         Case 17-03274-5-JNC                               Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                                Page 25 of 45

 Debtor          A Goodnight Sleepstore, Inc.                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $19,552.50

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $208,144.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $3,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $38,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $268,696.50           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $268,696.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                      Page 26 of 45
 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Funding Metrics, LLC dba
 2.1                                                                                                                         $44,041.68              $208,144.00
       Quick Fix                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                Mattress invetory

                                                      Value of inventory located at 6502 Market
                                                      Street, Wilmington, NC - $72,721.00
                                                      Value of inventory located at 801 S. College
       Attn: Managing                                 Road, Wilmington, NC - $36,782.00
       Officer/Agent                                  Value of inventory located at 934 Robeson
       884 Town Center Drive                          Street, Fayettevi
       Langhorne, PA 19047
       Creditor's mailing address                     Describe the lien
                                                      UCC Filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       December 19, 2016                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Simmons Manufacturing
       Co., LLC
       2. Funding Metrics, LLC
       dba Quick Fix

       Simmons Manufacturing
 2.2                                                                                                                       $243,785.60               $208,144.00
       Co., LLC                                       Describe debtor's property that is subject to a lien




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                     Page 27 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                             Case number (if know)
              Name

       Creditor's Name                                Mattress invetory

                                                      Value of inventory located at 6502 Market
                                                      Street, Wilmington, NC - $72,721.00
       Attn: Managing                                 Value of inventory located at 801 S. College
       Officer/Agent                                  Road, Wilmington, NC - $36,782.00
       One Concourse Parkway,                         Value of inventory located at 934 Robeson
       Suite 800                                      Street, Fayettevi
       Atlanta, GA 30328
       Creditor's mailing address                     Describe the lien
                                                      UCC Filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       April 26, 2013                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8219
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $287,827.28

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Simmons Manufacturing Co., LLC
        Attn: Managing Officer/Agent                                                                            Line   2.2
        5100-R West Harris Blvd
        Charlotte, NC 28269




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
         Case 17-03274-5-JNC                          Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                        Page 28 of 45
 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Brunswick County Revenue                                  Check all that apply.
           Attn: Managing Officer/Agent                                 Contingent
           PO Box 580335                                                Unliquidated
           Charlotte, NC 28231                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     For notice purposes only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $297.54         $297.54
           City of Columbia, SC - Tax Office                         Check all that apply.
           Attn: Managing Officer/Agent                                 Contingent
           1136 Washington St                                           Unliquidated
           Columbia, SC 29201                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Ad valorem property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                       Page 29 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          Cumberland County Tax Admin                                Check all that apply.
          Office                                                        Contingent
          Attn: Managing Officer/Agent                                  Unliquidated
          PO Box 449                                                    Disputed
          Fayetteville, NC 28302
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $250,000.00    $250,000.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operations                             Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     940/941 Withholding taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          New Hanover County Tax Office                              Check all that apply.
          Attn: Managing Officer/Agent                                  Contingent
          230 Government Center Dr, Suite                               Unliquidated
          190                                                           Disputed
          Wilmington, NC 28403
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $45,000.00    $45,000.00
          North Carolina Dept. of Revenue                            Check all that apply.
          Attn: Bankruptcy Unit                                         Contingent
          PO Box 1168                                                   Unliquidated
          Raleigh, NC 27602                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales and withholding taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 7
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         Case 17-03274-5-JNC                          Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                                     Page 30 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                                    Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $60,000.00    $60,000.00
           South Carolina Dept. of Revenue                           Check all that apply.
           Attn: Managing Officer/Agent                                 Contingent
           300A Outlet Pointe Boulevard                                 Unliquidated
           Columbia, SC 29210                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales and withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           American Express Centurion Bank                                             Contingent
           Attn: Managing Officer/Agent                                                Unliquidated
           PO Box 981537                                                               Disputed
           El Paso, TX 79998
                                                                                   Basis for the claim:     For notice purposes only
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $398.24
           Ard's Container Service                                                     Contingent
           Attn: Managing Officer/Agent                                                Unliquidated
           1101 1st Street, S.                                                         Disputed
           Columbia, SC 29209
                                                                                   Basis for the claim:     Trash removal
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,616.30
           Capital One Bank                                                            Contingent
           Attn: Managing Officer/Agent                                                Unliquidated
           PO Box 30285                                                                Disputed
           Salt Lake City, UT 84130
                                                                                   Basis for the claim:     Credit card purchases
           Date(s) debt was incurred
           Last 4 digits of account number      6895                               Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $10,307.85
           Capital One Bank                                                            Contingent
           Attn: Managing Officer/Agent                                                Unliquidated
           PO Box 30285                                                                Disputed
           Salt Lake City, UT 84130
                                                                                   Basis for the claim:     Credit card purchases
           Date(s) debt was incurred
           Last 4 digits of account number      2688                               Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                Unknown
           Chela Scott                                                                 Contingent
           c/o Britton Law, P.A.                                                       Unliquidated
           2850 Village Drive, Suite 206
                                                                                       Disputed
           Fayetteville, NC 28304
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Claims for negligence and personal injury
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                               Page 31 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                            Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,691.97
          Corsicana Bedding, Inc.                                               Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 1050                                                           Disputed
          Corsicana, TX 75151
                                                                             Basis for the claim:    Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number       5597                         Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,224.90
          Cross Creek Land Company, LLC                                         Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          5019 Carolina Beach Road
                                                                                Disputed
          Wilmington, NC 28412
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease breach
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          D.O. Smith Estate                                                     Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          301 Park Lake Road
                                                                                Disputed
          Columbia, SC 29223
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease of now closed Columbia store
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,076.00
          Discover Financial Services - Sam's                                   Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 30943                                                          Disputed
          Salt Lake City, UT 84130-0943
                                                                             Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,482.30
          Leggett & Platt, Incorporated                                         Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 140                                                            Disputed
          Linwood, NC 27299
                                                                             Basis for the claim:    Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number       9824                         Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nationwide P&C Insurance Co.                                          Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          One Nationwide Plaza
                                                                                Disputed
          Columbus, OH 43215-2220
          Date(s) debt was incurred
                                                                                              Any and all claims arising under Business Auto
                                                                             Basis for the claim:
                                                                             policy as a result of pending personal injury claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $399.85
          Piedmont Natural Gas                                                  Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 33068                                                          Disputed
          Charlotte, NC 28233
                                                                             Basis for the claim:    Utility service
          Date(s) debt was incurred
          Last 4 digits of account number       5001                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                               Page 32 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                            Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $121.05
          Piedmont Natural Gas                                                  Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 33068                                                          Disputed
          Charlotte, NC 28233
                                                                             Basis for the claim:    Utility service
          Date(s) debt was incurred
          Last 4 digits of account number       1002                         Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $780.00
          Plan A Advertising, LLC                                               Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          3724 Shipyard Blvd, Suite C                                           Disputed
          Wilmington, NC 28403
                                                                             Basis for the claim:    Advertising services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126,905.62
          Sealy, Inc.                                                           Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          239 Sealy Drive                                                       Disputed
          Trinity, NC 27370
                                                                             Basis for the claim:    Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number       2000                         Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,000.00
          Sears Credit Cards                                                    Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 6282                                                           Disputed
          Sioux Falls, SD 57117
                                                                             Basis for the claim:    Business credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,022.00
          Serta Simmons Bedding, LLC                                            Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          6540 Judge Adams Rd                                                   Disputed
          Whitsett, NC 27377
                                                                             Basis for the claim:    Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number       0463                         Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,482.54
          Sonny D. Langley                                                      Contingent
          210 Tanbridge Road                                                    Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans to business
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,630.00
          Tempur-Pedic North America, LLC                                       Contingent
          Attn: Managing Officer/Agent                                          Unliquidated
          PO Box 202707                                                         Disputed
          Dallas, TX 75320
                                                                             Basis for the claim:    Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number       7407                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                               Page 33 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                            Case number (if known)
              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $357.55
           Time Warner Cable                                                    Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 70872                                                         Disputed
           Charlotte, NC 28272
                                                                             Basis for the claim:    Utility service
           Date(s) debt was incurred
           Last 4 digits of account number      1901                         Is the claim subject to offset?     No       Yes


 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $300.56
           Time Warner Cable                                                    Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 70872                                                         Disputed
           Charlotte, NC 28272
                                                                             Basis for the claim:    Utility service
           Date(s) debt was incurred
           Last 4 digits of account number      5203                         Is the claim subject to offset?     No       Yes


 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,035.52
           Time Warner Cable                                                    Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 70872                                                         Disputed
           Charlotte, NC 28272
                                                                             Basis for the claim:    Utility service
           Date(s) debt was incurred
           Last 4 digits of account number      5402                         Is the claim subject to offset?     No       Yes


 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $183.33
           Time Warner Cable                                                    Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 70872                                                         Disputed
           Charlotte, NC 28272
                                                                             Basis for the claim:    Utility service
           Date(s) debt was incurred
           Last 4 digits of account number      6201                         Is the claim subject to offset?     No       Yes


 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $182.35
           Time Warner Cable                                                    Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 70872                                                         Disputed
           Charlotte, NC 28272
                                                                             Basis for the claim:    Utility service
           Date(s) debt was incurred
           Last 4 digits of account number      7001                         Is the claim subject to offset?     No       Yes


 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $35,736.73
           Wells Fargo Bank                                                     Contingent
           Attn: Managing Officer/Agent                                         Unliquidated
           PO Box 14517                                                         Disputed
           Des Moines, IA 50306
                                                                             Basis for the claim:    Business line of credit
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                                          Page 34 of 45
 Debtor       A Goodnight Sleepstore, Inc.                                                        Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Alan M. Solana, Attorney At Law
           Attn: Managing Officer/Agent                                                          Line     3.7
           1650 Military Cutoff Rd, Suite 200
                                                                                                        Not listed. Explain
           Wilmington, NC 28403

 4.2       Carthens Law Firm, PLLC
           Attn: Managing Officer/Agent                                                          Line     3.5
           804 Stamper Road, Suite 201
                                                                                                        Not listed. Explain
           Fayetteville, NC 28303

 4.3       Leggett & Platt, Incorporated
           Attn: Managing Officer/Agent                                                          Line     3.10
           160 Mine Lake Court, Suite 200
                                                                                                        Not listed. Explain
           Raleigh, NC 27615

 4.4       Sealy, Inc.
           Attn: Managing Officer/Agent                                                          Line     3.15
           PO Box 932621
                                                                                                        Not listed. Explain
           Atlanta, GA 31193

 4.5       Serta Simmons Bedding, LLC
           Attn: Managing Officer/Agent                                                          Line     3.17
           160 Mine Lake Court, Suite 200
                                                                                                        Not listed. Explain
           Raleigh, NC 27615-6417

 4.6       SWM Investors
           Attn: Managing Officer/Agent                                                          Line     3.8
           301 Park Lake Road
                                                                                                        Not listed. Explain
           Columbia, SC 29223

 4.7       Tempur-Pedic North America, LLC
           Attn: Managing Officer/Agent                                                          Line     3.19
           212 South Tryon St, Suite 1000
                                                                                                        Not listed. Explain
           Charlotte, NC 28281-0001

 4.8       Welch and Avery
           Attn: Managing Officer/Agent                                                          Line     3.11
           636 Court Street
                                                                                                        Not listed. Explain
           Jacksonville, NC 28540


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    355,297.54
 5b. Total claims from Part 2                                                                       5b.    +     $                    362,934.66

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      718,232.20




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 7
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                             Page 35 of 45
 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Lease of commercial
             lease is for and the nature of               real property located at
             the debtor's interest                        1732 Skibo Road,
                                                          Fayetteville, NC 28303.
                                                          Lease to run through
                                                          April 2020 at $10,800.00
                                                          per month.
                  State the term remaining                3 years                    Cross Creek Plaza, Inc.
                                                                                     Attn: Managing Officer/Agent
             List the contract number of any                                         PO Box 53646
                   government contract                                               Fayetteville, NC 28303


 2.2.        State what the contract or                   Lease of commercial
             lease is for and the nature of               real property located at
             the debtor's interest                        934 Robeson Street,
                                                          Fayetteville, NC 28305.
                                                          Lease is on a
                                                          month-to-month basis.      Demetrious/Georgia/Theo Perivolaris
                  State the term remaining                Month-to-month             Attn: Mr. Steve Paris
                                                                                     DP Limited Partnership
             List the contract number of any                                         1126 Offshore Drive
                   government contract                                               Fayetteville, NC 28305


 2.3.        State what the contract or                   Lease of commercial
             lease is for and the nature of               real property located at
             the debtor's interest                        6502 Market Street,
                                                          Wilmington, NC 28405.
                                                          Lease is on a
                                                          month-to-month basis.
                  State the term remaining                Month to month
                                                                                     Kenneth G. Lloyd
             List the contract number of any                                         PO Box 10720
                   government contract                                               Wilmington, NC 28404-0720




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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        Case 17-03274-5-JNC                           Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                      Page 36 of 45
 Debtor 1 A Goodnight Sleepstore, Inc.                                                       Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.4.        State what the contract or                   Lease of commercial
             lease is for and the nature of               real property located at
             the debtor's interest                        801 S. College Rd,
                                                          Wilmington, NC 28403.
                                                          Lease to run through
                                                          February 2018 at
                                                          $7,200.00 per month.
                  State the term remaining                9 months                   The University of North Carolina
                                                                                     Attn: UNCW Director of Real Estate
             List the contract number of any                                         601 S. College Road CB5918
                   government contract                                               Wilmington, NC 28403-5918




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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          Case 17-03274-5-JNC                         Doc 1 Filed 07/04/17 Entered 07/04/17 15:18:04                         Page 37 of 45
 Fill in this information to identify the case:

 Debtor name         A Goodnight Sleepstore, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Sonny D.                          210 Tanbridge Road                                Funding Metrics, LLC               D   2.1
             Langley                           Wilmington, NC 28405                              dba Quick Fix                      E/F
                                                                                                                                    G




    2.2      Sonny D.                          210 Tanbridge Road                                Cross Creek Land                   D
             Langley                           Wilmington, NC 28405                              Company, LLC                       E/F       3.7
                                                                                                                                    G




    2.3      Sonny D.                          210 Tanbridge Road                                American Express                   D
             Langley                           Wilmington, NC 28405                              Centurion Bank                     E/F       3.1
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                 WILMINGTON DIVISION

IN RE:

A GOODNIGHT SLEEPSTORE, INC.,                                             CASE NO.:
                                                                          CHAPTER 11
      DEBTOR(S)

          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)


 1.      Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the
         attorney for the above mentioned debtor and that compensation paid to me within one
         year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
         rendered or to be rendered on behalf of the debtor in contemplation of or in connection
         with the bankruptcy case is as follows:

         For legal services, I have agreed to accept                               $Amount unknown
                                                                       (To be determined by the Court)

         Prior to filing this statement, I have received                          $      4,000.00

         In addition, I am holding in trust for Attorney’s fees                   $      0.00

         Amount of Attorney’s fees incurred in preparation of this
         Chapter 11 case (See attached billing log)                               $      5,730.50

         As of the filing of this case, I was owed Attorney’s fees
         Incurred in preparation of this Chapter 11 case                          $     1,730.50

 2.      The source of compensation paid to me is:

             [x] Debtor                          [] Other:

 3.      The source of compensation to be paid to me is:

            [x] Debtor                           [] Other (specify):

 4.      [x] I have not agreed to share the above-disclosed compensation with any other person
           unless they are members and associates of my law firm.

         [ ] I have agreed to share the above-disclosed compensation with a person or persons who
             are not members or associates of my law firm.

 5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of
          the bankruptcy case, including:
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        a)      Analysis of the debtor’s financial situation, and rendering advice and assistance to
                the debtor in determining whether to file a petition under Title 11, United States
                Code;

        b)      Preparation and filing of any petition, schedule, statement of affairs, and other
                documents required by the court;

        c)      Representation of the debtor at the meeting of creditors, confirmation hearing and
                any adjourned hearings thereof;

        d)      Representation of the debtor in adversary proceedings and other contested
                bankruptcy matters;

        e)      Additional fees to be approved by the Bankruptcy Court

 6.     By agreement with the debtor, the above disclosed fee does not include the following
        services:

             Not applicable.

                                         CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or agreement for
 payment to me for representation of the debtor in this bankruptcy proceeding.


       Dated: July 4, 2017                            RICHARD P. COOK, PLLC

                                                      /s/ Richard P. Cook
                                                      Richard P. Cook
                                                      Attorney for the Debtor(s)
                                                      NC Bar 37614
                                                      7036 Wrightsville Ave., Suite 101
                                                      Wilmington, NC 28403
                                                      Telephone: (910) 399-3458
                                                      Facsimile: (877) 836-6822
                                                      Email: Richard@CapeFearDebtRelief.com
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Richard P. Cook
 
Board Certified Specialist in
Consumer and Business Bankruptcy

                                       7036 Wrightsville Ave., Suite 101
                                      Wilmington, North Carolina 28403
                                              (910) 399-3458
                                      Richard@CapeFearDebtRelief.com

A GOODNIGHT SLEEPSTORE, INC. BILLING LOG OF ATTORNEY FOR DEBTOR

CHAPTER 11 CASE NO. 17-0000-5-

  DATE     STAFF                            DESCRIPTION                                     TIME          RATE           AMOUNT
4/19/2017 RPC    Meeting with Sonny Langley re possible bankruptcy filing for AGNSS                2    No charge           $0.00

4/24/2017 RPC      Meeting with Sonny Langley re possible Ch. 11 filing for AGNSS              1.4             $275.00     $385.00
4/24/2017 RPC      Drafting of Fee Agreement                                                   0.3             $275.00      $82.50
4/24/2017 RPC      Review of NC SOS re. A Goodnight Sleepstore                                 0.2             $275.00      $55.00

4/24/2017 RPC      Drafting of email correspondence to Sonny L. re. documents needed           0.3             $275.00      $82.50
4/24/2017 RPC      Meeting with Ruth Green on instructions re opening file                     0.1             $275.00      $25.50
                   Meeting with Richard Cook for instructions on opening file and opening
4/24/2017 RG       of file                                                                     0.2              $95.00      $19.00

 5/1/2017 RPC      Telephone conference with Sonny re. bank accounts, documents                0.2             $275.00      $55.00
 5/9/2017 RPC      Telephone conference with Sonny re. documents                               0.2             $275.00      $55.00

5/10/2017 RPC      Drafting of email correspondence to Sonny re. documents needed              0.2             $275.00      $55.00

                   Legal research re. validity of future sale agreements, drafting of AP
5/10/2017 RPC      (preference, fraudulent conveyance, et al v. Quick Fix Capital)             3.6             $275.00     $990.00
5/11/2017 RPC      Preparation of Chapter 11 Schedules                                         2.1             $275.00     $577.50
                   Continued drafting of Chapter 11 Schedules, drafting of email
5/13/2017 RPC      correspondence to Sonny re. documents needed                                2.3             $275.00     $632.50
                   Telephone conference with NC DMV re. motor vehicle search for
5/18/2017 RG/TT    AGNSS                                                                       0.8              $95.00      $76.00

                   Continued legal research re. validity of future sale agreements and
                   reclassification as loan, insider status of Quick Fix, drafting of AP
5/26/2017 RPC      (preference, fraudulent conveyance, et al v. Quick Fix Capital)             3.5             $275.00     $962.50
                   Telephone conference with Sonny L. re. information needed for
 6/5/2017 RPC      Chapter 11 schedules, update on business                                    0.2             $275.00      $55.00
                   Review of emails from Sonny, re emergency filing, closing of bank
6/20/2017 RPC      accounts, responses to same                                                 0.4             $275.00     $110.00

                   Meeting with Sonny L. re information needed for Chapter 11
6/27/2017 RPC      schedules, timing of Ch. 11 filing, possible AP against QuickFix            0.5             $275.00     $137.50

 7/2/2017 RPC      Review of email from Sonny re Monday meeting, resp to same                  0.1             $275.00      $27.50
                   Meeting with Sonny re continued finalizing of schedules, review of
 7/3/2017 RPC      documents from Sonny re schedules                                           1.4             $275.00     $385.00
                   Continued preparation of Chapter 11 schedules, finalization of same
                   (2.5), meeting with Sonny at Market Street store to review and sign
 7/4/2017 RPC      Chapter 11 schedules (1.0)                                                  3.5             $275.00     $962.50


                                                                                                       Total             $5,730.50
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      A Goodnight Sleepstore, Inc.                                                                  Case No.
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 4, 2017                                                 /s/ Sonny D. Langley
                                                                          Sonny D. Langley/President
                                                                          Signer/Title




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Alan M. Solana, Attorney At Law            Cross Creek Land Company, LLC         Leggett & Platt, Incorporated
Attn: Managing Officer/Agent               Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
1650 Military Cutoff Rd, Suite 200         5019 Carolina Beach Road              PO Box 140
Wilmington, NC 28403                       Wilmington, NC 28412                  Linwood, NC 27299



American Express Centurion Bank            Cross Creek Plaza, Inc.               Leggett & Platt, Incorporated
Attn: Managing Officer/Agent               Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
PO Box 981537                              PO Box 53646                          160 Mine Lake Court, Suite 200
El Paso, TX 79998                          Fayetteville, NC 28303                Raleigh, NC 27615



Ard's Container Service                    Cumberland County Tax Admin Office    Nationwide P&C Insurance Co.
Attn: Managing Officer/Agent               Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
1101 1st Street, S.                        PO Box 449                            One Nationwide Plaza
Columbia, SC 29209                         Fayetteville, NC 28302                Columbus, OH 43215-2220



Brunswick County Revenue                   D.O. Smith Estate                     New Hanover County Tax Office
Attn: Managing Officer/Agent               Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
PO Box 580335                              301 Park Lake Road                    230 Government Center Dr, Suite 1
Charlotte, NC 28231                        Columbia, SC 29223                    Wilmington, NC 28403



Capital One Bank                           Demetrious/Georgia/Theo Perivolaris   North Carolina Dept. of Revenue
Attn: Managing Officer/Agent               Attn: Mr. Steve Paris                 Attn: Bankruptcy Unit
PO Box 30285                               DP Limited Partnership                PO Box 1168
Salt Lake City, UT 84130                   1126 Offshore Drive                   Raleigh, NC 27602
                                           Fayetteville, NC 28305

Carthens Law Firm, PLLC                    Discover Financial Services - Sam's   Piedmont Natural Gas
Attn: Managing Officer/Agent               Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
804 Stamper Road, Suite 201                PO Box 30943                          PO Box 33068
Fayetteville, NC 28303                     Salt Lake City, UT 84130-0943         Charlotte, NC 28233



Chela Scott                                Funding Metrics, LLC dba Quick Fix    Plan A Advertising, LLC
c/o Britton Law, P.A.                      Attn: Managing Officer/Agent          Attn: Managing Officer/Agent
2850 Village Drive, Suite 206              884 Town Center Drive                 3724 Shipyard Blvd, Suite C
Fayetteville, NC 28304                     Langhorne, PA 19047                   Wilmington, NC 28403



City of Columbia, SC - Tax Office          Internal Revenue Service              Sealy, Inc.
Attn: Managing Officer/Agent               Centralized Insolvency Operations     Attn: Managing Officer/Agent
1136 Washington St                         PO Box 7346                           239 Sealy Drive
Columbia, SC 29201                         Philadelphia, PA 19101                Trinity, NC 27370



Corsicana Bedding, Inc.                    Kenneth G. Lloyd                      Sealy, Inc.
Attn: Managing Officer/Agent               PO Box 10720                          Attn: Managing Officer/Agent
PO Box 1050                                Wilmington, NC 28404-0720             PO Box 932621
Corsicana, TX 75151                                                              Atlanta, GA 31193
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Sears Credit Cards                      Tempur-Pedic North America, LLC
Attn: Managing Officer/Agent            Attn: Managing Officer/Agent
PO Box 6282                             212 South Tryon St, Suite 1000
Sioux Falls, SD 57117                   Charlotte, NC 28281-0001



Serta Simmons Bedding, LLC              The University of North Carolina
Attn: Managing Officer/Agent            Attn: UNCW Director of Real Estate
6540 Judge Adams Rd                     601 S. College Road CB5918
Whitsett, NC 27377                      Wilmington, NC 28403-5918



Serta Simmons Bedding, LLC              Time Warner Cable
Attn: Managing Officer/Agent            Attn: Managing Officer/Agent
160 Mine Lake Court, Suite 200          PO Box 70872
Raleigh, NC 27615-6417                  Charlotte, NC 28272



Simmons Manufacturing Co., LLC          Welch and Avery
Attn: Managing Officer/Agent            Attn: Managing Officer/Agent
One Concourse Parkway, Suite 800        636 Court Street
Atlanta, GA 30328                       Jacksonville, NC 28540



Simmons Manufacturing Co., LLC          Wells Fargo Bank
Attn: Managing Officer/Agent            Attn: Managing Officer/Agent
5100-R West Harris Blvd                 PO Box 14517
Charlotte, NC 28269                     Des Moines, IA 50306



Sonny D. Langley
210 Tanbridge Road
Wilmington, NC 28405




South Carolina Dept. of Revenue
Attn: Managing Officer/Agent
300A Outlet Pointe Boulevard
Columbia, SC 29210



SWM Investors
Attn: Managing Officer/Agent
301 Park Lake Road
Columbia, SC 29223



Tempur-Pedic North America, LLC
Attn: Managing Officer/Agent
PO Box 202707
Dallas, TX 75320
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      A Goodnight Sleepstore, Inc.                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities                       Kind of Interest
 business of holder
 Sonny D. Langley                                                      Common stock 100%                                         Owner
 210 Tanbridge Road
 Wilmington, NC 28405


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date July 4, 2017                                                             Signature /s/ Sonny D. Langley
                                                                                            Sonny D. Langley

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      A Goodnight Sleepstore, Inc.                                                                      Case No.
                                                                                    Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for A Goodnight Sleepstore, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 4, 2017                                                           /s/ Richard P. Cook
 Date                                                                   Richard P. Cook 37614
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for A Goodnight Sleepstore, Inc.
                                                                        Richard P. Cook. PLLC
                                                                        dba Cape Fear Debt Relief
                                                                        7036 Wrightsville Avenue, Suite 101
                                                                        Wilmington, NC 28403
                                                                        (910)399-3458 Fax:(877) 836-6822
                                                                        CapeFearDebtRelief@gmail.com




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